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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MARILYN MARGULIS, and MAX                        )
MARGULIS, individual and on behalf               )
of all others similarly situated,                )
                                                 )
               Plaintiffs,                       )
vs.                                              )         No. 4:19-CV-00226-SRC
                                                 )
HOMEADVISOR, INC., and                           )
JOHN DOES 1-10,                                  )
                                                 )
               Defendants.                       )

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW Plaintiffs Marilyn Margulis and Max Margulis, and Defendants

HomeAdvisor, Inc. and John Does 1-10, by and through their respective counsel, and pursuant to

Federal Rule of Civil Procedure 41, stipulate to a dismissal of all individual claims asserted by

Plaintiffs on their own behalf in this matter with prejudice and a dismissal of all class claims

asserted by Plaintiffs in this matter without prejudice, with each party to bear their own costs and

attorneys’ fees.

Respectfully submitted,

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